

ON MOTION FOR REHEARING

PER CURIAM.
We deny the motion for rehearing but make several corrections to our previously entered opinion.
Appellant challenges the denial of his motion for relief from a final judgment of paternity in which appellee was awarded custody of the minor child. Despite this denial, the court later entered an order in which it indicated that it would rehear the matter, giving appellant permission to reset the hearing. Although appellee says that the motion for relief was insufficient for failing to show due diligence to move to set aside the final judgment, the court might have considered the fact that appellant alleged he had actual custody of the child both before and after the final judgment was rendered as some reason for his failure to act, warranting rehearing of the matter. We reverse the order of denial and remand to the trial court to conduct a new hearing on the motion in accordance *637with its subsequent order.- This renders moot the appeal of the second order.
WARNER, POLEN and HAZOURI, JJ., concur.
